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                                       UGME / Academic Policy and Procedures
 1.1 Introduction

 1.2 Administrative Structure of       Academic Policy and Procedures
 the School of Medicine

 1.3 Committees of the Faculty
 Senate                                                                        Academic Policy and Procedures (with Annotations)
                                                                                    Office of Academic and Faculty Affairs
 2.1 Curriculum Requirements for                                                             Updated July 14, 2021
 Students
                                        SECTION 1: ADMINISTRATIVE STRUCTURE AND COMMITTEES
 2.2 Progress Through the               1.1 Introduction
 Curriculum                             The Medical Student Academic Policies and Procedures Manual is the official document on policies, procedures, and
                                        regulations for students attending Renaissance School of Medicine at Stony Brook University. Any individual who enrolls in
 2.3 Institutional Learning
                                        the Renaissance School of Medicine at Stony Brook University voluntarily places oneself under the rules and regulations of
 Objectives/Competencies
                                        the University, the School, and affiliated hospitals, and the individual agrees to abide by these rules and regulations.
 2.4 Requirements for Promotion         Therefore, students, faculty, and administrative personnel need to be familiar with these policies and procedures, and they
                                        are responsible for remaining familiar with these provisions. The School of Medicine faculty has established these policies
 2.5 Requirements for Graduation        and procedures in compliance with the Accreditation Standards and Elements of the Liaison Committee on Medical
                                        Education.
 2.6 Elective Time
                                        These policies and procedures were endorsed by the School of Medicine faculty to serve as guidelines for actions and
 2.7 Placing Out of a Course
                                        decisions regarding academic policies and procedures. The Committee on Academic & Professional Progress (CAPP) is the
 3.1 Professional Behavior              body the faculty has charged with interpreting and applying the provisions herein. While every effort is made to provide
                                        accurate and current information, the School of Medicine reserves the right to change or amend policies, procedures,
 3.2 Social Networking Policy           programs, and other matters without notice when circumstances dictate. Note that some of the items in this manual have
                                        a more detailed explanation included in Section 9 as an Annotation.
 3.3 Standards of Conduct for the
 Teacher-Learner Relationship           1.2 Administrative Structure of the School of Medicine

                                        The Dean of the School of Medicine is the Chief Academic Officer and has overall responsibility for the school’s
 3.4 Student Mistreatment
                                        educational, research, and clinical missions. The various functions related to medical education are distributed among
 3.5 Reporting Mistreatment             members of the Office of the Dean.

                                        The educational mission is the primary focus of the Vice Dean for Academic Affairs, who works in conjunction with the Vice
 3.6 Examples of Unprofessional
                                        Dean for Graduate Medical Education. Assistant and associate deans and senior professional staff oversee admissions,
 Behavior
                                        student affairs, academic advising, career counseling, curriculum, and evaluation and assessment. Services coordinated by
 4.1 Communications                     these offices have been designed to assist students in achieving their educational goals, and include financial aid
                                        counseling and processing; registration and course scheduling; personal, academic and career counseling; residency
 4.2 HIPAA Training &                   application assistance; and other services.
 Confidentiality Agreement
                                        1.3 Committees of the Faculty Senate
 4.3 Class Attendance and Work
                                        1.3.1 The Curriculum Committee
 Hours
                                        The Curriculum Committee is appointed by the Faculty Senate to develop and supervise the undergraduate medical
 4.4 Enrollment                         education curriculum. The committee’s functions include specifying the educational mission, goals, and objectives of the
                                        School of Medicine, defining the overall content of the curriculum, determining the length and sequence of courses,
 4.5 Absences                           recommending course directors to the Dean of the School of Medicine, and regularly reviewing and evaluating individual
                                        courses and the curriculum as a whole. Student representation on this committee consists of one voting representative
 4.6 Vacations and Religious            from each of the medical school classes chosen from students in good standing by the student body, and one voting
 Holidays                               member from the MSTP program chosen by fellow MSTP student members. The committee meets monthly.
 4.7 Leaves of Absence                      1.3.2 The Committee on Academic & Professional Progress (CAPP)

 4.8 Withdrawal from the School of      The Committee on Academic & Professional Progress (CAPP) is appointed by the Faculty Senate to monitor students'
 Medicine                               adherence to academic and professional standards. CAPP is charged with making academic standing and professional
                                        progress decisions. Four elected student representatives, one from each of the medical school classes, serve as non-
 4.9 Evaluation of Faculty and the      voting members of CAPP and participate in all deliberations. The committee meets monthly.
 Curriculum by Students
                                        If a student meets criteria for review by CAPP, the Associate Dean for Student Affairs will so notify the student and invite
 5.0 Grades, Failures and Academic      the student to meet with CAPP. Criteria for referral to CAPP include, but are not limited to, the accumulation of 8
 Standing                               marginality points in Phase I, 4 marginality points in Phase II, or 14 marginality points at any time in the curriculum; two
                                        NBME subject exam failures in Phase II; and/or behavioral or professionalism concerns at any time, among others. Although
 5.1 Grading and Evaluative             CAPP meetings are closed, but for invitees, and the deliberations are confidential, a student may bring a Renaissance
 Comments                               School of Medicine medical student or faculty member as an advocate. Moreover, students may prepare a written
                                        statement to distribute to the committee before or during the meeting. Legal representation is not permitted at meetings
 5.2 Grade Definitions                  of CAPP, and the proceedings of the meeting may not in any way be recorded by the student or the student’s advocate.
 5.3 Other Grades                       If a student is called to the Committee on Academic and Professional Progress for an issue of an academic or professional
                                        nature, and that issue pertains to a particular course or clerkship, then any member of CAPP who serves as the course or
 5.4 Grade/Comment                      clerkship director, the course or clerkship co-director, or is involved in evaluating or grading that student as it pertains to
 Reconsideration                        that particular course or clerkship, will recuse themselves from the discussion and voting process.
 5.5 Failing an Academic Year           CAPP will consider the student’s statements and academic record, as well as other supporting documents, and will decide
                                        on appropriate actions. CAPP’s actions may include, but are not limited to, a letter of warning, remediation, or dismissal.
 5.6 Academic Status While              CAPP’s decisions shall be transmitted by the Associate Dean for Student Affairs to the student, in writing, within ten days
 Repeating a Phase                      of the committee's review.
 5.7 Remediation of Failures                CAPP’s decisions are final except for the following permissible appeals:

 5.8 In Good Standing                   1. Decisions other than those resulting in dismissal, suspension, or repeat of a year may be appealed back to CAPP if (a)
                                           pertinent evidence was available at the time of the initial review, but was not brought to the attention of CAPP, or (b)
 5.9 Academic Probation                    there was an error in the review process.

 5.10 Suspension
                                        2. Decisions that result in dismissal, suspension, or repeat of a year, may be appealed to the Dean of the School of
 6.0 Guidelines for                        Medicine. Students have 14 days from the date of notification to appeal the CAPP decision. If the student does not
 Accommodation for Students ith            submit an appeal within 14 days, CAPP’s decision becomes effective as of the 15th day. If there is an appeal, CAPP’s
 Disabilities                              decision is held in abeyance, pending the outcome of the appeal.

 7.1 Health Requirements and                     1.3.2.1 Appeal Process
 Immunizations                                   The student's written appeal must be submitted to CAPP (if based on subparagraph 1, above) or to the Dean of
                                                 the School of Medicine (if based on subparagraph 2, above) within fourteen (14) calendar days of being notified of
 7.2 HIV
                                                 the CAPP decision. For appeals to CAPP, CAPP will review the appeal and notify the student of its determination
 7.3 Student Health Insurance                    within thirty (30) days of receipt of the appeal. This CAPP decision will be final.

 8.0 Registration and Fees                       For appeals to the Dean, the Dean will review the file of the student as it existed on the date of the CAPP meeting.
                                                 The Dean will meet with the Chair and/or members of CAPP and/or members of CAPP, the Associate Dean for
 8.5 Refund Policy                               Student Affairs, and with the student before making a final decision on the appeal. The Dean’s decision is final and
                                                 is effective as of the date indicated on the Dean’s decision letter. The Dean’s final decision will be communicated to
 9.0 Annotations
                                                 the student within thirty (30) days of the appeal.

                                            1.3.3 The Committee on Student Affairs
                                            The Committee on Student Affairs considers and recommends to the Dean and the Executive Committee of the
                                            Faculty Senate matters affecting the well-being of the student body. The primary charge of this committee is to
                                            monitor all learning environment and mistreatment concerns from the students, and to follow the WE SMILE program
                                            of the School of Medicine. The committee is co-chaired by a faculty member appointed by the Faculty Senate and by
                                            the Associate Dean for Student Affairs. Student representation on this committee consists of one voting student
                                            member from each medical class who are chosen from among students in good standing by the student body.

                                        SECTION 2: CURRICULUM REQUIREMENTS FOR STUDENTS

                                        2.1 LEARN Curriculum Guiding Principles
                                        The LEARN and 3YMD curriculum tracks adhere to the Curricular Guiding Principles approved by the Renaissance School of
                                        Medicine Curriculum Committee.

                                        2.2 Progress Through the Curriculum

                                        Students in good standing automatically advance to the next course/course component, academic year, or curriculum
                                        phase.

                                        2.3 Competencies and Institutional Learning Objectives
                                        The School of Medicine has adopted six (6) Competencies and 20 Institutional Learning Objectives (ILOs). As students
                                        progress through the curriculum, their achievement of ILOs is tracked electronically and is available for viewing by both
                                        students and faculty. Students must achieve competence in all ILOs prior to graduation.

                                        2.4 Requirements for Promotion
                                        In general, a student will not be promoted to the next academic phase until successfully completing all of the requirements
                                        of the preceding phase and meeting all health and certification requirements.

                                            2.4.1 LEARN Curriculum Track
                                            Phase I Requirements

                                        1. Successful completion of all Phase I courses (Annotation 9.1);
                                        2. Passing grade on the ICM Final Objective Structured Clinical Examination (OSCE);
                                        3. Successful completion of the HIPAA Policy and Procedure Training; and
                                        4. Signing the SBU Organized Health Arrangement (HIPPA Confidentiality Agreement).

                                            Phase II Requirements

                                        1. Students may not begin Phase II until completing all Phase I requirements, including BLS and ACLS certifications;
                                        2. Successful completion of all Phase II clerkships and courses (Annotation 9.1);
                                        3. Successful completion of all Phase II clinical skills and conditions (Note: Students must document their completion of
                                           each clerkship’s designated clinical skills and conditions in the Clinical Experiences e-Passport on CBase for release of
                                           grades.);
                                        4. Passing score on the End-of-Phase II Clinical Performance Exam (CPX); and
                                        5. Taking the USMLE Step 1 exam by the designated deadline. (Annotation 9.2)

                                            Phase III Requirements

                                        1. Students may not begin any Phase III coursework until completing all Phase II requirements and taking the USMLE Step
                                           1 exam by the designated deadline;
                                        2. Students must meet with a Specialty Advisor to discuss and plan their Phase III schedule prior to Phase III registration.
                                           Students must attest to meeting with their chosen Specialty Advisor on CBase.
                                        3. Successful completion of a minimum of forty (40) weeks of required coursework (Annotation 9.1); and
                                        4. Successful completion of the USMLE Step 1 and Step 2 CK exams. (Note: Students are required to take the USMLE Step
                                           1 and Step 2 CK exams by the designated deadlines.) (Annotation 9.2)

                                            2.4.2. 3YMD Curriculum Track
                                        In general, students in the 3YMD curriculum track must fulfill the same requirements for promotion as students in the
                                        LEARN track (see Section 2.4.1 of the RSOM Academic Policies and Procedures). Additionally, 3YMD students are
                                        expected to meet the following academic performance standards:
                                        1. Achieve a passing grade in all Phase I courses. Students who fail any Phase I course will exit the 3YMD track and
                                        enter the LEARN track;
                                        2. Pass a remediation exam for any failed Phase I examination on the first attempt;
                                        3. Pass all NBME Clinical Science Subject (ie, Shelf) Exams on the first attempt. Any student who receives a ‘Z’ in a
                                        clinical clerkship will be moved to the four-year LEARN track.
                                        4. Complete the USMLE Step 1 and Step 2 CK exams by the 3YMD designated deadlines and before beginning any
                                        Phase III coursework; (Annotation 9.2)
                                        5. Pass the USMLE Step 1 and Step 2 CK exams on first attempt;
                                        6. All USMLE exam results must be in by May of the third year;
                                        7. Exhibit high standards of professional behavior as described in the RSOM Academic Policies and Procedures
                                        throughout the entire curriculum;
                                        8. Complete the requirements for the MD degree in three years; and
                                        9. Secured a direct linkage to a Graduate Medical Education (GME) program.
                                            2.5 Requirements for Graduation
                                            The MD degree will be conferred by Stony Brook University upon persons who have met the following requirements:

                                            2.5.1 LEARN Curriculum Track

                                        1. Students must successfully complete a minimum of 149 weeks of study in the LEARN curriculum track (Annotation
                                           9.1).
                                        2. Attended four (4) separate years of medical instruction and satisfactorily completed all coursework, examinations, and
                                           mandatory academic requirements;
                                        3. Achieved passing scores on the USMLE Step 1 and Step 2 CK exams; (Annotation 9.2).
                                        4. Maintained acceptable academic ethics and professional behavior;
                                        5. Paid all tuition, fees, and fines in full;
                                        6. For students who have received loans, completed an exit interview conducted by the Office of Student Affairs;
                                        7. Entered PGY1 contact information into CBase; and
                                        8. The School strongly recommends that students complete the AAMC Graduation Questionnaire as a professional
                                           obligation and contribution to future generations of RSOM students.

                                            2.5.2 3YMD Curriculum Track
                                            1. Students must successfully complete a minimum of 135 weeks of study in the 3YMD curriculum track (Annotation
                                            9.1).
                                            2.     Attended three (3) separate years of medical instruction and satisfactorily completed all coursework,
                                            examinations, and mandatory academic requirements;
                                            3. Achieved passing scores on the USMLE Step 1 and Step 2 CK exams; (Annotation 9.2).
                                            4. Secured a direct linkage to a GME position
                                            5. Maintained acceptable academic ethics and professional behavior;
                                            6. Paid all tuition, fees, and fines in full;
                                            7. For students who have received loans, completed an exit interview conducted by the Office of Student Affairs;
                                            8. Entered PGY1 contact information into CBase; and
                                            9. The School strongly recommends that students complete the AAMC Graduation Questionnaire as a professional
                                            obligation and contribution to future generations of RSOM students.

                                        All requirements for the MD degree must be met within seven (7) years after the date of first enrollment in the School
                                        of Medicine, or within five (5) years for a student who transfers into the School of Medicine after the first year. This time
                                        limitation does not apply to students in conjoint degree (e.g., MD/PhD) or other approved programs, e.g., a concurrent or
                                        consecutive MPH, MBA, MA degree. (N.B. Student eligibility for loans carries time limits as well.) Students must complete
                                        Phase I of the LEARN curriculum within three and one-half (3.5) years after the date of first enrollment in the School of
                                        Medicine. There can be no more than two (2) attempts to successfully complete Phase I of LEARN.

                                        2.6 Combined Degree Program Requirements

                                        2.6.1 Combined MD/PhD (Medical Scientist Training Program)

                                        Students enrolled in the MSTP first complete Phase I of the LEARN curriculum and then pursue graduate study for three (3)
                                        to four (4) years. Upon completion of their graduate studies, students re-enter the School of Medicine and complete
                                        Phases II and III of LEARN.

                                        MSTP students must take Step 1 after completion of all Phase I courses and before beginning graduate studies.

                                        MSTP students receive eighteen (18) weeks of Phase III elective credit for completion of PhD work. They must complete an
                                        additional twenty two (22) weeks of Phase III course work to attain the required forty (40) weeks of study. (Annotation
                                        9.1)

                                        2.6.2 Combined MD/MPH

                                            The combined MD/MPH program requires the completion of all School of Medicine requirements for the MD and all 54
                                            credits of the MPH program. However, students will receive up to 10 weeks of Phase III elective credit for the following
                                            MPH courses:

                                            HPH 506     Biostatistics I (3 weeks)
                                            HPH 507     Biostatistics II (3 weeks)
                                            HPH 514     Epidemiology for Public Health (3 weeks)
                                            HPH 542     Introduction to Global Health I (2 weeks)
                                            HPH 546     Introduction to Global Health II (2 weeks)

                                            In addition, the Program in Public Health will accept 6-9 credits from the School of Medicine for the following courses,
                                            which will substitute for a 3-credit course within the core MPH curriculum and 3-6 credits within the respective
                                            concentration:


                                            MED 611 Introduction to Clinical Medicine (3 credits)
                                            MED 612 Medicine in Contemporary Society (3 credits)
                                            MED 616 Themes in Medical Education (3 credits)

                                            Students have two options for completing the MD/MPH degree requirements:

                                            Option 1: 5-Year Sequencing Option (RECOMMENDED): MD then MPH then MD
                                            The student takes a one year Leave of Absence to Participate in an Educational Program or Research between any two
                                            phases of the LEARN curriculum to enroll in full-time MPH course work. Some MPH course work does need to be taken
                                            during medical school.

                                            Option 2: 4-Year Sequencing Option (NOT RECOMMENDED): MPH during MD
                                            The student completes all MPH course work during medical school. Some MPH course work is required during the
                                            summer prior to beginning of medical school. (Note: Due to the rigorous nature of the MD program, students are
                                            strongly discouraged from pursuing Option 2.)

                                            2.6.3 Combined MD/MBA

                                            The combined MD/MBA program combines a 4 year MD degree and a 48 credit MBA degree. Students are expected to
                                            complete the majority of the MBA degree requirements either prior to starting the MD program or after completing
                                            the MD program. Due to the rigorous structure of the MD program, students should not enroll in MD and MBA courses
                                            concurrently. Students will receive 6 weeks of Phase III elective credit for the following MBA courses:

                                            MBA 507 Ethics and Law (3 weeks)
                                            MBA 522 Industry Project (3 weeks)

                                            Students receive both degrees upon completion of the entire program. If a student withdraws from the combined
                                            program, they would receive only the MD or MBA, providing they completed all of the requirements for that particular
                                            degree.

                                            2.6.4 Combined MD/MA
                                            The combined MD/MA program combines a 4 year MD degree and an 18 credit MA degree in Medical Humanities,
                                            Compassionate Care and Bioethics. In addition to course work, MD/MA students must fulfill the requirements for the
                                            Scholarly Concentrations Program in Medical Humanities.

                                            2.7 Electives
                                            Elective courses allow students to experience various aspects of the field of medicine outside of the required courses.
                                            These courses provide an opportunity for a well-rounded medical education aligning their career interests with their
                                            preparation for residency.

                                            2.7.1 Phase I Electives

                                        1. With the exception of some longitudinal electives that are open to Phase I students, students may not register for any
                                           elective that conflicts with required Phase I courses.
                                        2. Phase I electives will appear on a student’s official transcript. Up to 4 weeks will count towards the required number of
                                           weeks for graduation; however, they do not count towards MSPE quartile calculations.
                                        3. Elective credit in Phase I is only given for courses or research offered at Stony Brook.
                                        4. Students on probation may not enroll in electives. The Committee on Academic and Professional Progress (CAPP) may
                                           limit electives for students who are not in good standing academically. CAPP will determine academic standing on a
                                           case-by-case basis.

                                            2.7.2 Phase III Electives

                                        1. Phase III electives range in length and are either two or four weeks. Some electives are longitudinal, e.g. the student
                                           receives two weeks of credit for a course they completed over an extended time period.
                                        2. In order to ensure a well-rounded education, students are not permitted to take more than a total of four electives in
                                           any one specialty. This total includes electives taken here at Stony Brook and those taken elsewhere.
                                        3. Students in the Scholarly Concentrations Program must take 8 weeks of SCP Research Elective in Phase III. More than 8
                                           weeks will need the approval of the Dean’s Office.
                                        4. Students outside of the Scholarly Concentrations Program may take up to 8 weeks of Research Elective in Phase III.
                                           More than 8 weeks will need the approval of the Dean’s Office.
                                        5. The minimum number of weeks that a student may register for a research elective is four.
                                        6. All electives requested within two weeks of the start date must be pre-approved by the elective course director and by
                                           the Assistant Dean for Clinical Education.
                                        7. Students are required to submit the appropriate Elective Approval Form to the Office of Student Affairs for final
                                           approval and course entry into CBase. Students will not receive credit for electives that are not approved and
                                           scheduled in CBase.
                                           If you do not submit the Elective Approval Form to the Office of Student Affairs for final approval, the elective will not be
                                           scheduled in CBase and you will not get credit for the elective.


                                            2.7.3 Double Credit Policy

                                             1. Students are not permitted to concurrently enroll in two electives listed as earning full-time elective credit.
                                            Students may take a two-week clinical elective twice to gain four weeks of exposure to a field. Students who do so will
                                            receive four weeks of elective credit in total, providing that the two elective blocks are not taken concurrently.

                                            2.7.4 Away Electives

                                        1. Students may not take more than 20 weeks of away electives.
                                        2. In order to ensure a well-rounded education, students are not permitted to take more than a total of three away
                                           electives in any one specialty. Also see 2.7.2 for Phase III electives policies.
                                        3. Students on away electives must be evaluated according to the RSOM Phase III Medical Student Evaluation Form – Sub-
                                           Internship/Electives. The student’s RSOM transcript will report the grade as reported by the host institution.
                                        4. In order to provide accurate information for future students, we require all students taking away electives to complete
                                           an online Away Elective Course Evaluation Survey (survey link:
                                           https://stonybrookuniversity.co1.qualtrics.com/jfe/form/SV_5gzKmit6jGnKV93). This link is also on CBase.
                                        5. In order for NYS to provide liability insurance coverage to students for away electives, NYS requires that an affiliation
                                           agreement be in place. A list of sites for which agreements are in place is available under the Course Information tab on
                                           CBase 2. If an affiliation agreement is not yet in place with an away site, the School of Medicine will make every effort to
                                           get one in place prior to the student’s away rotation. In some instances, an agreement cannot be reached by both
                                           institutions. For example, Harvard does not enter into any affiliation agreements. In such cases, the away site often
                                           allows students to purchase their own liability insurance. Stony Brook students who want to do an away rotation at a
                                           site for which no affiliation agreement is in place, may do so if they purchase their own liability insurance. In all these
                                           cases, students must submit the appropriate Elective Approval paperwork to the Dean’s Office for approval.

                                            2.7.5 International Electives
                                            All international electives must first be approved by the Director of Global Medical Education.

                                            2.7.6 Assessment and Grading
                                            The following electives are Pass/Fail:
                                            1. All Phase I electives
                                            2. Certain Phase III electives:

                                                 a. two-week electives
                                                 b. non-clinical, non-research (primarily didactic-based) electives

                                        All clinical/research electives longer than 2 weeks will use a five-tiered Honors/High Pass/Pass/Low Pass/Fail grading
                                        scheme, but they may be graded Pass/Fail if so indicated in the course syllabus.

                                        Given the broad range of courses and learning activities, the methods of student assessment may differ from course to
                                        course. However, all courses must use the same final grade submission form -- the Phase III Medical Student Evaluation
                                        Form – Sub-Internship/Electives – that includes space for both the final course grade and narrative comments that will be
                                        included in the MSPE.

                                        2.7.7 MSPE Quartile Determination
                                        Phase III electives taken up to the first seven months of Phase III will be included in the MSPE quartile determination. Phase
                                        III electives will be weighted for the course duration and, regardless of the course grading scheme, will be counted as
                                        Pass/Fail. The MSPE will also include the narrative comments.

                                        2.7.8 Submitting Electives Grades

                                        All Phase I electives grades must be submitted no later than four weeks after the completion of the course. For Phase III
                                        electives, course directors must complete the final student Phase III Medical Student Evaluation Form – Sub-
                                        Internship/Electives that summarizes the student’s performance and includes comments. Course directors must ensure
                                        that all clinical elective grades must be submitted within six weeks of course completion, and grades for all non-clinical
                                        electives must be submitted within four weeks of course completion.

                                        2.8 Placing Out of a Course

                                         In special circumstances, a student may request to place out of a course. To determine whether this is possible, the
                                        student follows this process:

                                        1. The student submits to the Registrar a course description of the course they completed along with an official
                                           transcript;
                                        2. The Registrar forwards this information to the course director for review and recommendation on the student’s
                                           request;
                                        3. The course director communicates their recommendation to the Registrar; then
                                        4. The Registrar notifies the student of the final decision and enters the decision into the student’s permanent file.

                                        SECTION 3: PROFESSIONAL BEHAVIOR

                                        3.1 Professional Behavior

                                        Medical students are preparing for a career that demands the highest standards of honor, ethics, and professional behavior
                                        and appearance. All students are required to sign and act in accordance with the principles of the Student Honor Code. All
                                        students are required to act in accordance with the University Student Code of Responsibility and in accordance with the
                                        laws of the State of New York.

                                        Renaissance School of Medicine at Stony Brook University promotes a sense of mutual respect among patients, faculty,
                                        staff, house staff, and students. Certain behaviors, such as violence, sexual harassment, and discrimination are inherently
                                        destructive to the student/teacher, student/patient, and student/student relationships. Other behaviors, such as making
                                        demeaning or derogatory remarks, or giving destructive criticism, are also inappropriate and interfere with professional
                                        development. Unprofessional behavior may be reviewed by the Committee on Academic & Professional Progress (CAPP)
                                        and may result in disciplinary action. Student behavior may also be reviewed by the Student Honor Code Committee, which
                                        may forward recommendations for action to the Office of Student Affairs (OSA). The OSA may impose the Student Honor
                                        Committee’s recommendations, wholly or in part, or refer the matter to CAPP. Any professionalism concerns that rise to
                                        the level of CAPP will be noted in the student’s MSPE.

                                        It is an expectation that students will fulfill clinical obligations while exhibiting “the highest level of professionalism and
                                        sensitivity to the diverse personal and cultural contexts in which medical care is delivered” (RSOM Mission Statement).

                                        Students are expected to become familiar with and follow any written rules of conduct and professional behavior at any
                                        clinical or research site at which the student trains. Students accorded housing at such sites are expected to treat this
                                        space and their host institution with respect. Students who damage property, engage in unlawful behavior, or act
                                        unprofessionally in that space may be referred to the host institution’s and/or RSOM's CAPP and subject to such
                                        committee’s decisions. If the student resides in group housing, all members of the group may be held responsible for any
                                        misconduct or damage that occurs in the space.

                                        Students participating in “The Body” component of the Biomedical Building Blocks course are expected to treat the donor
                                        cadavers with the utmost respect and sensitivity. Donors and their family members understand that their remains will be
                                        used for educational and scientific purposes. The donors and their families deserve our admiration and deepest gratitude.
                                        To treat a cadaver in any way that does not serve educational or scientific purposes constitutes unprofessional behavior.
                                        This type of behavior includes, but is not limited to, the taking of photographs (film or digital images) that serve no
                                        educational or scientific purpose. Any student known to have taken such a photograph will be referred to the Committee
                                        on Academic & Professional Progress as having engaged in unprofessional behavior. Any student who has knowledge of a
                                        colleague having taken such a photograph is bound to follow the procedures of the Student Honor Code for dealing with
                                        unprofessional behavior by a colleague.

                                        Students who exhibit behavioral problems may be referred by the Dean’s Office or by the Committee on Academic &
                                        Professional Progress to the Behavioral Assessment Committee on the main campus of Stony Brook University for further
                                        review and recommendations.

                                        3.2 Social Networking Policy
                                        Renaissance School of Medicine has a Social Networking Policy, while Stony Brook University publishes Social Media
                                        Guidelines. Students are expected to adhere to both.

                                        3.3 Standards of Conduct for the Teacher-Learner Relationship
                                        The School of Medicine is committed to maintaining a positive environment for study and training, in which individuals are
                                        judged solely on relevant factors such as ability and performance, and can pursue their educational and professional
                                        activities in a learning environment that is humane, respectful, and safe. Our core values are ICARE: Integrity, Compassion,
                                        Accountability, Respect and Excellence. Medical student mistreatment violates these fundamental principles and will not
                                        be tolerated in the medical school community.

                                            3.3.1 The Faculty Code of Ethics
                                            Section 2, Respect for Persons, delineates faculty behaviors demonstrating respect for other persons and the
                                            prohibition against discrimination and harassment. “All members of the medical school and its students are expected to
                                            adhere to this Code of Ethics in their interactions with patients, colleagues, other health professionals, students, other
                                            trainees, other staff, and the public.”

                                        3.4 Student Mistreatment
                                        The          full       student        mistreatment        policy                         can         be         found              at
                                        http://medicine.stonybrookmedicine.edu/ugme/mistreatment_policy.

                                        Excerpts are provided below.

                                        The School of Medicine has a school wide program entitled WE SMILE which is an acronym for "We can Eradicate Student
                                        Mistreatment In the Learning Environment.” The six components of the WE SMILE program include a) Definition, b)
                                        Education, c) Reporting, d) Review and Adjudication, e) Enforcement, and f) Communication/Closing the Loop. The School
                                        has defined mistreatment as physical, verbal or emotional behavior that shows disrespect for medical students and
                                        unreasonably interferes with their respective learning process.

                                        Examples of mistreatment include but are not limited to:

                                        1. insults or unjustifiably harsh language in speaking to or about a person;
                                        2. public belittling or humiliation;
                                        3. requiring performance of personal services (e.g., shopping, babysitting);
                                        4. intentional neglect or lack of communication (e.g., neglect, in a rotation, of students with interests in a different field of
                                           medicine);
                                        5. disregard for student safety;
                                        6. denigrating comments about a student's field of choice;
                                        7. assigning tasks for punishment rather than for objective evaluation of performance;
                                        8. exclusion of a student from any usual and reasonable expected educational opportunity for any reason other than as a
                                           reasonable response to that student's performance or merit;
                                        9. other behaviors which are contrary to the spirit of learning and/or violate the trust between the teacher and learner.

                                        3.5 Reporting Mistreatment

                                        The School of Medicine has created multiple avenues to report mistreatment to encourage reporting as well as to track
                                        patterns and frequency of mistreatment in order to target specific prevention initiatives. Students should keep in mind that
                                        the range of responses available to the School of Medicine will be contingent not only on the nature of the mistreatment,
                                        but also the degree to which a student is willing to identify her/himself. Further, the School of Medicine may decide that a
                                        report of mistreatment rises to a level where University policy has been violated and be required to notify the Office of
                                        Diversity and Affirmative Action, Labor Relations, and/or University Police.

                                            3.5.1 Face to Face Report
                                              1. The Associate Dean for Student Affairs: Students may report any concerns of mistreatment directly to the
                                            Associate Dean for Student Affairs.
                                             2. Student Focus Groups and Exit Interviews: Non-teaching personnel in the School of Medicine conduct periodic
                                            focus groups and clerkship exit interviews with students. This serves as another safe venue for students to bring up
                                            concerns regarding the learning environment confidentially. Such reports will be directed to the Associate Dean for
                                            Student Affairs.

                                            3.5.2   Online Reporting
                                            1.          Professionalism      Note:     The      Professionalism     Note       on      the     RSOM        website
                                                  (https://cbase.som.sunysb.edu/cbase2/public/comments/index.cfm)              allows      any       student/staff
                                            member/trainee/faculty to anonymously report potential concerns, or compliments, regarding the learning
                                            environment. Such reports will be reviewed by the Associate Dean for Student Affairs for appropriate further action.

                                            2. Mistreatment Note: This note, in CBase (https://cbase.som.sunysb.edu/cbase2), allows students to confidentially
                                            or anonymously report any mistreatment they have experienced or witnessed during their education at Stony Brook.
                                            Available 24/7, students may report events at the time they occur or any time later, so that they can do so without fear
                                            of retribution. These reports are sent to the Associate Dean for Student Affairs for review. Based on the review of the
                                            situation in conjunction with the student, the Associate Dean for Student Affairs may issue a report to the Committee
                                            on Student Affairs.

                                            3. End of Course Evaluation Form in CBase: This form, completed by all students at the end of each course or
                                            clerkship, allows aggregate assessment of the prevalence of mistreatment and learning environment concerns
                                            anonymously. It also allows any student to report a mistreatment incident during that course/clerkship confidentially
                                            to the Associate Dean for Student Affairs.

                                            While all reports of mistreatment are confidential and separate from any academic record, there may be incident
                                            reporting of extreme situations where anonymity cannot be guaranteed. Students who are unsure of which route to
                                            take in addressing an incident of mistreatment can make use of consultation services of Counseling and Psychological
                                            Services at either the East Campus location (3rd floor, near the HSC Library) or West Campus location (2nd floor,
                                            Student Health Services Building). Licensed counselors are able to help a student talk through options available in a
                                            confidential setting including whether or not a student wants to report mistreatment. In cases where the student
                                            wishes to maintain anonymity, the student may designate a proxy to present the information for review by the
                                            Committee on Student Affairs.

                                        3.6 Examples of Unprofessional Behavior
                                           3.6.1 Academic Integrity
                                           The fundamental rules of academic integrity are of prime importance and breaches are taken seriously.

                                            3.6.2 Cheating
                                            Dishonesty of any kind with respect to examinations, course assignments, alteration of records, or illegal possession
                                            of examinations shall be considered cheating. It is the responsibility of the student not only to abstain from cheating,
                                            but also to avoid the appearance of cheating and to guard against facilitating cheating by others. Students who cheat,
                                            and students who help others cheat, are equally guilty of wrongdoing. Students must also do everything possible to
                                            induce respect for the examining process and for honesty in the performance of assigned tasks, in and out of class.

                                            3.6.3 Fabrication
                                            Students and professionals are expected to be honest in their representations of fact and not report as true
                                            information they do not know to be true, i.e. they are to report only what they know to have a basis in fact. Reporting
                                            false information in academic, research or patient care settings is forbidden.

                                            3.6.4 Plagiarism
                                            Honesty requires full acknowledgement of any words, data, ideas or materials taken from others and used for one’s
                                            own written, graphic or oral use. Any student who fails to give credit for words, data, ideas or materials taken from
                                            other sources is guilty of plagiarism whether intentional or unintentional. (Annotation 9.3)

                                            3.6.5 Scientific Misconduct
                                            Students involved in research are expected to conduct themselves according to the highest standards of scientific
                                            integrity. Anyone conducting research involving human subjects is required to undergo training in the ethical conduct
                                            of human subjects research and have their research protocol reviewed and approved by the Stony Brook Institutional
                                            Review Board.

                                            3.6.6 Appropriate Identification
                                            It is improper for medical students to present themselves to patients or others as licensed physicians. In the clinical
                                            setting, students must wear, in a highly visible location, an official Stony Brook Medicine name badge which shows their
                                            name and photo as identification as a medical student. This badge should be worn in conjunction with additional name
                                            badges given to students at off-campus clinical training or research sites.

                                            3.7 Sexual Harassment and Gender-Based Discrimination
                                            In a combined effort with students, the administration has sought to expand the processes by which students can
                                            report occurrences of sexual harassment or gender-based discrimination. In addition to previous ways to report
                                            through CBase, Student Health Services, Counseling and Psychological Services and the Title IX Office, we have
                                            created a committee geared towards dealing with reports of gender-based mistreatment. Dr. Lauren Maloney has
                                            been appointed as the school’s Gender-Based Mistreatment Liaison. Dr. Maloney is an Emergency Medicine Attending
                                            and a Renaissance School of Medicine Alumna. Reports may go directly to her. In addition, we have created a student
                                            committee with 1-2 students from each class serving as a representative who you can turn to. These students can
                                            help facilitate the reporting process and, if requested, maintain the reporter’s anonymity. Dr. Maloney may be reached
                                            at lauren.maloney@stonybrookmedicine.edu.


                                        SECTION 4: GENERAL POLICIES

                                        4.1 Communications
                                        Each student is given an official @stonybrookmedicine.edu e-mail address and access to CBase, the web-based student
                                        academic record and course management system. Official communications from the school (deans, course directors,
                                        faculty, administrative support staff, etc.) occurs via the official @stonybrookmedicine.edu e-mail address that each
                                        student has been assigned. Students are responsible for accessing and reading their e-mail on a regular basis and, when
                                        required, responding appropriately and in a timely manner. The official email address of RSOM students is
                                        firstname.lastname@stonybrookmedicine.edu. Students are responsible for maintaining an up-to-date personal profile in
                                        CBase. If a student withdraws or is terminated, their email access is terminated generally within a three month period.

                                        4.2 HIPAA Training & Confidentiality Agreement
                                        All RSOM faculty, staff, and students at the Health Sciences Center (HSC) must be trained in HIPAA Policies and Procedures
                                        and must sign a Confidentiality Agreement. Instructions on fulfilling the HIPAA requirement can be found on CBase or on
                                        the HSC Training Website: https://cbase.som.sunysb.edu/hipaa_training. All students must complete their training and
                                        sign the Confidentiality Agreement by the end of their first semester enrolled in the School of Medicine.

                                        4.3 Class Attendance and Work Hours
                                        Each faculty member has responsibility and authority for matters pertaining to the general attendance and
                                        classroom/clinic conduct of students. Faculty members have the responsibility to notify students which class/clinic
                                        activities are mandatory. Except in extraordinary circumstances, these mandatory activities will appear on the official
                                        academic calendar at least 30 days prior to the scheduled activity.

                                            4.3.1 Training Sites
                                            Students are assigned to their clinical training sites through a lottery system. If there are extenuating circumstances
                                            that affect a student at a particular training site, the student may request an alternate site by submitting a written
                                            request to the Associate Dean for Student Affairs.

                                            4.3.2 First Session
                                            The first session of every course and clerkship is mandatory, regardless of whether it is indicated as such on the
                                            academic calendar on CBase.

                                            4.3.2 Day Prior to NBME Shelf Exam
                                            The day prior to an NBME shelf exam in a clinical clerkship is a scheduled work day, thus there is no designated study
                                            day before such exams.

                                            4.3.3 Work Hours
                                            4.3.3.1 Phase I Work Hours
                                            The maximum number of hours students may be scheduled in instructor-led and self-directed learning activities in
                                            Phase I courses is five (5) per day and 25 per week. Generally, Phase I course activities are scheduled each day from
                                            9:00AM to 12:00PM and 1:00PM to 3:00PM.

                                            4.3.3.2 Phases II and III Work Hours
                                            The School of Medicine adheres to the Accreditation Council for Graduate Medical Education (ACGME) duty hour
                                            requirements for workload. Students are encouraged to report any violations of the eighty (80) hour limit and/or duty
                                            hour rules. Specifically, students may not be requested to work more than eighty (80) hours per week, averaged over a
                                            four (4) week period, inclusive of all in-house call activities. Duty periods must not exceed twenty four (24) hours in
                                            duration. Specifically, duty hours are defined as all clinical and academic activities related to the program; i.e., patient
                                            care (both inpatient and outpatient), administrative duties relative to patient care, the provision for transfer of patient
                                            care, time spent in-house during call activities, and scheduled activities, such as conferences. Duty hours do not
                                            include reading or preparation time spent away from the duty site. Students must be provided with one (1) day in seven
                                            (7) free from all educational and clinical responsibilities, averaged over a four (4) week period, inclusive of call. Adequate
                                            time for rest and personal activities must be provided. Adequate time is defined as a minimum of eight (8) hour time
                                            period provided between all daily duty periods and after in-house call. See the Stony Brook University Hospital
                                            Graduate Medical Education (GME) Duty Hours Policy for detailed information.


                                        4.4 Enrollment
                                        Students must be registered for a minimum of twelve (12) weeks of coursework per medical school term to be considered
                                        active. There are a total of eight (8) terms during the four (4) years required for the MD degree. All blocks/holds in SOLAR
                                        must be resolved in order to be enrolled to avoid incurring late registration fees.

                                            4.4.1 Enrollment in Dual Degree Programs (MD/PhD, MD/MPH, MD/MA, MD/MBA)
                                            Students in dual degree programs may not enroll in more than one course per semester in the supplemental degree
                                            program while enrolled in Phase I courses. Such students must remain in good academic standing in the School of
                                            Medicine. If the student loses their good academic standing, then the student will be invited to CAPP, which may
                                            mandate completion of the joint program in five (5) rather than four (4) years.

                                        4.5 Absences

                                        Course requirements - including attendance requirements - are determined by course directors within the guidelines for
                                        managing courses found in the Course Director’s Handbook. Hence it is the course director who has the authority to
                                        determine the nature of any make-up work. When a student is excused from required course activities, the Dean's office
                                        will notify the course director, and it is the student's responsibility to arrange for and complete the make-up work in a
                                        timely fashion.

                                        Students may be excused from mandatory coursework in certain circumstances with the approval of the Associate Dean
                                        for Student Affairs. Students enter their request for an excused absence in CBase (under Document/Excused Absence).
                                        The following are the only valid reasons for requesting an excused absence:

                                        1. Medical illness or checkup, including care for an ill dependent (e.g. parent, child). A doctor’s note must be submitted to the
                                           Office of Student Affairs or uploaded to CBase within 14 days of the date of the absence. If no note is provided, the excused
                                           absence will convert to an unexcused absence.
                                        2. Death of a family member or significant other
                                        3. Act of God, disaster, or nature occurrence
                                        4. Significant educational experience. Students who wish to be excused from mandatory academic activities for religious
                                           observance or once-in-a-lifetime educational experience must request an excused absence through CBase at least 30 days
                                           before the holiday or event.
                                        5. Religious observance. Students who wish to be excused from mandatory academic activities for religious observance or
                                           once-in-a-lifetime educational experience must request an excused absence through CBase at least 30 days before the
                                           holiday or event.

                                        An absence for any other reason will be noted as unexcused. In general, students may not accumulate more than ten (10)
                                        excused absences per year. Students who accumulate more than ten (10) absences in a given year may be invited to CAPP.
                                        Students who accumulate three (3) or more unexcused absences will meet with the Associate Dean for Student Affairs.
                                        Students who accumulate five (5) or more unexcused absences may be invited to CAPP.

                                        Students requesting to attend professional conferences must be in good standing at the time of the conference. No
                                        student shall request an excused absence to attend more than three conferences throughout medical school.

                                        In the case of inclement weather, students should call 631-444-SNOW or 631-632-SNOW, and read their emails to learn
                                        whether to report for exams or other mandatory activities. The Stony Brook University Emergency Management
                                        Website posts university information regarding university closings and other emergency notifications. Students are also
                                        strongly encouraged to sign up for SB Alert, the University’s emergency notification system that automatically sends
                                        emergency alerts to mobile devices and computers. Sign-up for SB Alert is available on SOLAR.

                                         4.6 Vacations and Religious Holidays
                                        The School of Medicine academic calendar specifies the days on which there are no mandatory academic activities. There
                                        are eight (8) official RSOM holidays: Christmas Day-New Year's Day (winter break), MLK Day, Memorial Day, 4th of July,
                                        Labor Day, Thanksgiving (day and day after). Students who wish to be excused from mandatory academic activities for
                                        religious observance must request an excused absence through CBase at least thirty (30) before the holiday. Missed work
                                        must be made up.

                                        4.7 Leaves of Absence (LOA)
                                        A leave of absence may be granted to enable a student to resolve personal, health, or academic problems, or to further
                                        their education away from the School of Medicine. Except for leaves granted pursuant to degree granting or other
                                        approved programs, the maximum cumulative leave of absence for personal or health problems or for supplemental
education may not exceed a total of eighteen (18) months. All leaves of absence must be requested in writing and approved
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by the Associate Dean for Student Affairs. The Associate Dean may specify conditions that must be met for the student to
be permitted to return after the leave of absence.

    4.7.1 Leave of Absence for Personal or Health Problems
    Granted after a student has submitted a written request to the Associate Dean for Student Affairs containing
    supporting documentation and recommendation from the student's physician or other healthcare provider. All
    submitted materials will be kept in strict confidence.

    4.7.2 Leave of Absence for Academic Remediation
    Students may request a leave of absence for academic remediation for completion or make up of academic work if
    their performance indicates a pattern of chronic marginality. Such requests should be made in writing to the Associate
    Dean for Student Affairs explaining the reason for the request and the time period requested with a recommendation
    from the School of Medicine's learning specialist of the medical school. A student will not be granted a leave of
    absence solely to avoid completing course requirements in a timely manner.

    4.7.2.1 Class of 2022 and Onwards
    A student who fails to take the USMLE Step 1 or Step 2 CK exam by the stated deadline for their class or who requests
    extended time to prepare for and take a Step exam will be placed on an LOA for academic remediation, and this LOA will
    appear on the student’s official transcript and be noted in their MSPE.

    4.7.3 Leave of Absence to Participate in an Educational Program or Research
    Students may request a leave of absence to participate in an educational program or research. Such requests are to be
    made in writing to the Associate Dean for Student Affairs. The request must include a written petition specifying the
    goals, scope and duration of study, and written verification from the supervisor of such activity. Students may not take
    an LOA for research after July 1st of Phase III.

    Students taking a leave of absence (or gap year) may have tuition/financial aid implications depending on start/end
    dates. Semesters run July-Dec (Fall) and Jan-Jun (Spring). Contact Mary.Allen@stonybrookmedicine.edu for
    tuition/financial aid questions. Contact Caroline.Lazzaruolo@stonybrookmedicine.edu for enrollment questions.
    (Traditional 4-Year MD students are required to pay tuition for a minimum of 8 semesters. 3YMD and OMFS students are
    required to pay tuition for a minimum of 6 semesters.)

    4.7.4 Leave of Absence After Completion of Phase II
    Students must complete both the USMLE Step 1 Exam and RSOM Clinical Performance Exam (CPX) prior to starting a
    leave of absence after completion of Phase II.

    In accordance with SUNY policy and federal guidelines for the administration of Title IV financial aid programs, there
    are billing and financial aid regulations that must be followed when beginning a leave of absence immediately following
    completion of Phase II.

a. Phase II ends after the 100% tuition liability period for the spring term. Students beginning an LOA immediately after
   completing Phase II are NOT entitled to a refund of any portion of the spring term tuition.
b. Students receiving federal loans for living expenses are required to return a portion of the loan proceeds based on the
   last date of attendance for the spring term. A Return of Title IV Funds calculation will be conducted by the university
   Financial Aid Office. The calculated loan funds returned to the federal government by the university will appear as a
   balance due to the university on the student’s SOLAR account.
c. Students returning from an LOA at the scheduled start of Phase III the following year will be billed for spring tuition/fees
   for the academic period ending on June 30th of that year. Fall tuition/fees will be charged for the period of July 1st
   through December 31st.

    4.7.5 Returning from a Leave of Absence

    A student wishing to return from a leave of absence must request, in writing, authorization to do so from the Associate
    Dean for Student Affairs. The petition must include the anticipated date of return. For medical leaves of absence, we
    require a standard “fit for duty” letter from the treating physician. Students returning from a gap year or LOA will be
    added to the appropriate Phase of the LEARN curriculum and will be required to fulfill the current requirements of that
    Phase. Certain school requirements may expire during an LOA (or gap year). Students are required to ensure that all
    requirements are up to date prior to returning to medical school and resuming coursework (i.e. all health requirements,
    Mask Fit, ACLS/BLS, etc.).


4.8 Withdrawal from the School of Medicine
Students may withdraw from the School of Medicine by notifying the Vice Dean for Academic Affairs in writing. Once
approved, the decision is final and the student is no longer enrolled in the School of Medicine.

4.9 Supervision of Students
RSOM requires that medical students in clinical learning situations involving patient care are appropriately supervised at all
times in order to ensure patient and student safety, that the level of responsibility delegated to the student is appropriate
to their level of training, and that the activities supervised are within the scope of practice of the supervising health
professional. These supervisory guidelines shall provide medical students with an educational program that is clinically and
academically progressive and that complies with the requirements of RSOM. If any student believes that they have not
been adequately supervised in the clinical environment, the student is strongly encouraged to submit a Clinical Supervision
Note, which is under the Feedback and Assessments tab on CBase.

4.10 Evaluation of Faculty and the Curriculum by Students
The Office of Academic and Faculty Affairs provides mechanisms for student input regarding their educational experiences
at Stony Brook. These include student surveys, focus groups, exit interviews, and end of course evaluations. Such feedback
is used by the Curriculum Committee to improve the structure and content of the educational program. End of course
evaluations on CBase are required to be completed before students can view their grades. Likewise, course faculty are
required to enter grades before they can view student evaluations.

4.11 Student Records

The School of Medicine Registrar’s Office maintains a record for each student that includes an academic file. The file
contains registration material, evaluation forms, academic summaries, and other relevant correspondence. The academic
file contains information deemed necessary for the proper documentation of the student's progress through the program.
Student grades and evaluations are electronically posted on CBase, and students are encouraged to review them regularly.
This electronic posting constitutes official notification of grades.

The maintenance and utilization of the student file are guided by national standards. The School defines the official student
record as stated by the AAMC Handbook for Student Records Administrators. A student has the right to inspect their
academic file. Before the file is open to the student's inspection, it is checked for material not covered by the Family
Educational Rights and Privacy Act of 1974 (Buckley Amendment, also commonly known as FERPA). A student wishing to
review their official record must submit a written request to the Registrar and then make an appointment for review. Any
School of Medicine faculty member who has a legitimate need to know may review a student's academic file with explicit
permission from the Assistant Dean for Student Affairs.


4.12 Students and FERPA Guidelines
For the details regarding student rights and FERPA, visit the SBU Registrar's FERPA website. FERPA gives students the
following rights regarding educational records:
  1. Right of inspection records;
  2. Right to challenge records believed to be inaccurate;
  3. Right to consent to disclosure of personally identifiable records (with exceptions).

Upon written request, the School of Medicine shall provide a student with access to their educational records. The RSOM
Registrar’s Office has been designated by the institution to coordinate the inspection and review procedures for student
education records, which include admissions, academic and financial files.

Students wishing to review their educational records must make written requests to the RSOM Registrar’s Office listing the
item(s) of interest. Educational records covered by FERPA will be made available within 45 days of the request.

Directory information, including name, address, phone number, email address, date of attendance, degree awarded,
enrollment status, and major field of study will be disclosed to third parties upon such request without student
permission (unless limited explicitly by the student).

However non-directory information, such as SSN, identification number, race, gender, transcripts and grade reports,
requires student consent for release. Students may give consent for the release of records by going into CBase and
checking off the release box under the Documents/Release Information tab to enable smooth processing of such requests.

Transcripts are sent out by the Registrar’s Office. Transcript requests must be made in writing by the student. Except when
legally permitted to do so, transcripts will not be released unless the student gives permission to release in CBase.

SECTION 5: GRADES, FAILURES ACADEMIC STANDING, AND MSPE

Grades are recorded in each student's record in CBase and reported in the Medical Student Performance Evaluation (MSPE)
sent to residency programs. The assignment and distribution of grades in a course are determined by the director of that
course and are described in the syllabus of each course.

 5.1 Grading and Evaluative Comments
The School of Medicine uses a two-tier grading system (Pass, Fail) for Phase I courses and a five-tier grading system
(Honors, High Pass, Pass, Low Pass, Fail) for Phase II and III clerkships and courses. For detailed information on current
grading policies, For detailed information on current grading policies, see the Assessment and Grading in the LEARN
Curriculum approved by the Curriculum Committee.

    5.1.1 Pass, Fail Course

    The following courses are graded on a Pass/Fail basis:

    1. All Phase I courses
    2. Transition to Clinical Care (TCC)
    3. Anesthesiology mini-clerkship
    4. Emergency Medicine mini-clerkship
    5. Radiology mini-clerkship
    6. Translational Pillars
    7. Selectives
    8. Transition to Residency: General (TTR: G)
    9. Transition to Residency: Specialty (TTR: S)
    10. Advanced Clinical Experience (ACE)
    11. Short-course and longitudinal electives

5.2 Grade Definitions
1. Honors (H) signifies exceptionally superior performance.
2. High Pass (HP) signifies above average performance.
3. Pass (P) signifies satisfactory performance.
4. Low Pass (LP) signifies less than satisfactory performance but not failing.
5. Fail (F) signifies that the student has not performed satisfactorily.

    5.3 Other Grades
    Incomplete (I) signifies that extenuating circumstances, usually out of the student's control, have prevented the
    student from completing the course/component requirements. A grade of incomplete will be replaced by the final
    grade when the student completes the requirements.

    No Grade Yet (NGY) will be given in a Phase I course to a student who receives an overall course or component score of
    ≥ 65.0, but whose overall average on unit exams is < 65.0, or who receives a summative final exam score of < 65.0. An
    ‘NGY’ is not a permanent grade that appears on the student’s official transcript. The ‘NGY’ will remain on CBase until
    the unit and/or summative final exam(s) is/are either successfully or unsuccessfully remediated. If the exam(s) is/are
    successfully remediated, the ‘NGY’ is converted to a P. A student with an ‘NGY’ may not earn a grade above Pass in that
    course or component, i.e., no H will be awarded. If the exam(s) is/are unsuccessfully remediated, the ‘N’ is converted to
    an F.

    Z will be given in a clinical course to a student who has passed other elements of a course, but who has failed the initial
    attempt of the NBME subject exam for that course. A ‘Z’ is not a permanent grade that appears on the student’s
    official transcript. If the student passes the second attempt of the NBME subject exam, the ‘Z’ is converted to a P. A
    student with a ‘Z’ may not earn a grade above Pass in that clinical course, i.e., no H or HP will be awarded. A second
    failure of the NBME shelf exam converts the Z to an F.

    Withdrawal (W) signifies that the student withdrew before completing course objectives.

    Placed-Out (PO) signifies that the student was given credit for a course by (a) having previously taken the same or a
    similar course and/or (b) by passing an exam deemed appropriate and sufficient by the course director. With the
    consent of the instructor and the Vice Dean for Academic and Faculty Affairs, a student may substitute an alternative
    educational experience for any course if consistent with the learning objectives of that course.

5.4 Grade/Comment Reconsideration

At the completion of each course and clinical rotation, course directors are responsible for making grades and evaluation
reports available on CBase as soon as possible. Phase I faculty have four (4) weeks from the end of a course/component to
submit final course/component grades. All clinical course grades must be submitted within six (6) weeks of course
completion, and grades for all non-clinical courses must be submitted within four (4) weeks of course completion. Students
will be notified by e-mail when grades are entered into or changed in CBase. Students are responsible for checking their
own grades and for completing the course evaluations necessary to gain access to course grades.

A student who wishes to contest a final course/clerkship grade or evaluation must submit a written request for
reconsideration to the course director within five (5) days after the grade has been posted. The course director, who may
consult with the appropriate course/clerkship faculty, will notify the student of their decision regarding the student’s
request. If the student wishes to appeal the course director’s decision, the student must submit an appeal in writing to the
Chair of the Grade Appeals Committee (GAC), Dr. Eva Swoboda, within five (5) days of receiving the course director’s
decision. This written request must clearly state the basis for the appeal. The GAC is comprised of selected Phase I, Phase
II and Phase III course directors in the SOM. If the course director who conducted the initial request for reconsideration is a
member of the GAC, she/he will recuse themself from the proceedings and deliberations on that specific case to avoid any
conflict of interest. The GAC will notify the student of its decision. If the student wishes to appeal the GAC’s decision,
she/he must submit an appeal in writing to the Associate Dean for Student Affairs within five (5) days of receiving the
GAC’s decision. The Associate Dean will rule on the matter, and the Associate Dean’s ruling is final. The Associate Dean will
notify the student of the final decision.

5.5 Failing an Academic Year

    5.5.1 Phase I
    Failure of two Phase I courses constitutes a failure of Phase I. (Note: Biomedical Building Blocks (B3) is a single course.)
    A student who fails a course but who has not failed Phase I, will be given an opportunity to take a make-up exam or
    complete other remediation as determined by the course director. Annotation 9.4 details the process for taking a
    make-up exam.

    CAPP may decide that a student who fails Phase I be dismissed or invited to repeat the Phase. At the Committee’s
    discretion, any student who repeats Phase I may be exempted from re-taking courses in which s/he scored at or above
    the class mean. CAPP may also require a student who displays a pattern of marginal academic performance
    (Annotation 9.5) to repeat a Phase, or CAPP may dismiss the student from the educational program.

    5.5.2 Phase II & III
    The criteria for passing a clinical course are included in each course syllabus, but generally student achievement is
    measured by clinical performance, and performance on assignments and written, oral or practical exams. All core
    clerkships require passage of an NBME subject exam at the 5th percentile level, at minimum, as determined by the
    latest academic year norms from the NBME for examinee performance.

         5.5.2.1
         If a student accumulates two Zs during the clinical phases, fails a clinical clerkship, or accumulates a total of 14
         marginality points, the student will be stopped from further rotations. The student will also be referred to CAPP.
         Those students with chronic marginality are at risk for delayed graduation or dismissal from the school.

         5.5.2.2
         Progress through Phases II & III will be interrupted if a student is put on probation or is suspended. A student who
         is on probation may not begin any new clerkship or elective clinical course. A student who is suspended will be
         precluded from participation in all academic and extracurricular activities.

         5.5.2.3
         A student may start a new clinical rotation after having received a Z in a single clerkship.

         5.5.2.4
         Failure of the mandatory clinical performance exam (CPX) at the end of Phase II requires remediation by August
         31st of Phase III.

    5.6 Academic Status While Repeating a Phase
    Students who are given the opportunity to repeat a Phase will do so on probation, and they are expected to
    demonstrate improved academic performance (Annotation 9.5). While on probation, the student will come before
    CAPP if they receive an "F" as their final grade in a course, or if they accumulate four or more (≥4) additional marginality
    points during a Phase. If the student is successful in demonstrating an improved academic performance, the student
    will be taken off probation. Accumulation of new failures or marginality points while on probation may be grounds for
    dismissal.

5.7 Remediation of Failures
For detailed information on remediating failures, see the Assessment and Grading of Students in the LEARN Curriculum.

    5.7.1 Phase 1
    In Phase I, each of the four components of the Biomedical Building Blocks (B3) course must be passed independently
    to achieve a final passing grade for the course. Failure to pass any B3 component, whether a result of a final overall
    component score of <65.0, an overall average on unit exams of <65.0, or a summative final exam score of <65.0, must
    be remediated. A maximum of two (2) remediation attempts is allowed. A student who fails a component will be
    assigned a grade of 'N' on CBase for the B3 course. Successful remediation of a failed component will result in the
    replacement of the 'N' on CBase with a Pass (P) grade for the B3 course. Failure to pass a component after the second
    remediation attempt will result in the replacement of the 'N' in CBase with a Fail (F) grade for the B3 course.
    Subsequent successful retake of the failed B3 component will result in an F/P grade on the transcript for the B3 course.


    Failure to pass an Integrated Pathophysiology course, whether a result of a final overall course score of <65.0, an overall
    average on unit exams of <65.0, or a summative final exam score of <65.0, must be remediated. A maximum of two (2)
    remediation attempts is allowed. A student who receives an overall course score of ≥65.0, but whose overall average
    on unit exams is <65.0, or who receives a summative final exam score of <65.0, will be assigned a grade of 'N' on CBase
    for that IP course. Successful remediation of the failed exam(s) will result in the replacement of the 'N' on CBase with a
    Pass (P) grade for the course. Failure to pass the failed exam(s) after the second remediation attempt will result in the
    replacement of the 'N' on CBase with a Fail (F) grade for the course. Subsequent successful retake of a failed course will
    result in an F/P grad eon the transcript for the course.

    5.7.1.1 Shelf Rx for Students (Shelf Rx)

    Shelf Rx is an early warning system to identify students who may be at-risk for NBME shelf exam failure(s) in their
    Phase II clinical clerkships. Shelf Rx identifies at-risk students in Phase I and provides them with supplemental
    academic support to lessen their chances of experiencing shelf exam failures in Phase II. Shelf Rx is supportive, not
    punitive, and a student’s Shelf Rx status is not noted in their academic record (i.e., transcript), nor is it reported in their
    Medical Student Performance Evaluation (MSPE).

    Any student who has accumulated 4 marginality points (Annotation 9.5) or 4 or more suboptimal customized NBME
    exam scores (percent correct score < 70.0) in Academic Year 1 (AY1) is required to take the Comprehensive AY1
    Customized NBME Assessment at the start of the Phase I summer break. The cost for the AY1 Customized NBME is
    covered by the Renaissance School of Medicine (RSOM). If a student scores ≥ 70.0 on the AY1 Customized NBME, no
    further intervention is required. If a student scores < 70.0, a customized supplemental academic support plan for the
    summer will be put in place. Development and oversight of the student’s supplemental academic support plan is
    provided by the RSOM Learning Specialist, with the Associate Dean for Student Affairs and relevant Phase I course
    directors as guides in the process. Such students will meet with the Associate Dean for Student Affairs to decide if
    they are still eligible to participate in the Scholarly Concentrations Program, Global Health Program, or dual degree
    program during the summer between AY1 and AY2.

    Any student who has accumulated 2 marginality points or 3 suboptimal customized NBME exam scores in AY1 is
    strongly recommended to take the Comprehensive AY1 Customized NBME Assessment at the start of the Phase I
    summer break. The cost for the AY1 Customized NBME is covered by the RSOM. If a student scores ≥ 70.0 on the AY1
    Customized NBME, no further intervention is required. If a student scores < 70.0, the student may elect to have a
    customized supplemental academic support plan for the summer put in place, but they are not obligated to do so.
    Development and oversight of the student’s supplemental academic support plan is provided by the RSOM Learning
    Specialist, with the Associate Dean for Student Affairs and relevant Phase I course directors as guides in the process.
    Such students may participate in the Scholarly Concentrations Program, Global Health Program, or dual degree
    program during the summer between AY1 and AY2.


    5.7.1.1.1 Preparation for the AY1 Customized NBME

    Students will take the AY1 Customized NBME Assessment at the designated time following the completion of AY1
    courses. Students are strongly encouraged to meet with the RSOM Learning Specialist beforehand to review their
    performance in each of the AY1 courses, begin to assess their particular learning needs, and begin to develop their
    supplemental support study plan for the summer.


    5.7.1.1.2 Shelf Rx in Phase I AY2

    The Shelf Rx program continues to provide supplemental support to students in Phase I AY2. Students continue their
    work with the RSOM Learning Specialist on honing their study skills, time management, and test taking skills and
    strategies, as well as solidifying their content area knowledge.

    Any student who accumulates an additional 2 marginality points (Annotation 9.5) or 2 or more suboptimal customized
    NBME exam scores (percent correct score < 70.0) in AY2 is required to take the NBME Comprehensive Basic Science
    Exam (CBSE) after completing Phase I and before starting clerkship rotations. The cost for the CBSE is covered by the
    RSOM. If a student scores ≥ 184 on the CBSE, no further intervention is required. If a student scores < 184, the
    student will be enrolled in a six-week supplemental support course, Learning Theory and Review in Basic Medical
    Sciences, which will be recorded on the student’s transcript and noted in the MSPE. The start of the student’s clinical
    rotations will be delayed by six weeks, at minimum. At the conclusion of the Learning Theory course, students will take
    the CBSE a second time. If a student scores ≥ 184 on this second CBSE, the student may begin clinical rotations. If a
    student scores < 184, the student will continue working with the RSOM Learning Specialist on an individual basis and
    their entry into clerkships will be further delayed. Such students will begin clinical rotations after they have scored at or
    above 184 on the CBSE.

    5.7.1.1.3 Shelf Rx in Phase II and Preparation for Clerkship NBME Subject Exams

    Students in the Shelf Rx program are strongly encouraged to take the NBME Clinical Mastery Series Exams (CMSE)
    prior to taking the NBME Subject Exams (aka shelf exams) in each Phase II clinical clerkship. The cost for each CMSE will
    be covered by the RSOM, and Shelf Rx students will be given a voucher to take the exam online. Shelf Rx students are
    strongly encouraged to meet with the RSOM Learning Specialist to review their performance on the CMSE and to
    prepare a study plan for the shelf exam.


    5.7.2 Phase II & III

    Failure of a clinical course can occur in three ways:
    1. Not meeting expectations of clinical performance and/or academic course work,
    2. Lack of professionalism, and/or
    3. Two NBME subject exam failures (Z+Z=F)

    5.7.3 NBME Subject Exam

    A student must take a clerkship NBME subject exam (i.e., shelf exam) no later than two weeks after the start of the
    next next clerkship. If the student has no subsequent clerkship scheduled, they must take the shelf exam within two
    weeks of completing the clinical rotation.

    A student must take a clerkship NBME subject exam (i.e., shelf exam) before taking a leave of absence. If a student
    does not take the shelf exam before being placed on an LOA, then the student must retake the entire clerkship.

    A students who fails only the NBME subject exam in a clerkship will receive a temporary grade of ‘Z’ in that clerkship. If
    the student passes the retake exam, the ‘Z’ will be changed to the clerkship grade earned, either P, LP or F. Note: A
    student who has failed an NBME subject exam cannot earn an Honors or High Pass in a clinical course, i.e., there is no H
    or HP. A student who either accumulates two Z's at any time during Phase II or fails a clerkship will be stopped in their
    clinical rotations, and they will be reviewed by CAPP. Once both Z’s are remediated, the student can resume clinical
    rotations. In the case of a clerkship failure, remediation must include a minimum of two weeks of additional clinical
    work, any additional remediation as determined by the clerkship director, and a passing grade on the NBME subject
    exam. The student's transcript will reflect the failed clerkship and a second entry will show the grade earned upon
    remediation, e.g. F/P.

    If a student fails to take a scheduled NBME exam without an excused absence, they will be charged for any costs
    associated with the missed or unused exam, and they may have a Professionalism Note placed in their student record.

    5.7.3.1 Time Limit for Retaking a Failed NBME Subject Exam

    A student must retake a failed NBME Subject Exam no later than six weeks after the start of the next class’ first block
    of clerkships.

    5.7.4 ICM Final OSCE and End-of-Phase II CPX


    5.7.4.1 ICM Final OSCE
    At the completion of Phase I, students must take and pass the ICM Final OSCE. Students who fail the ICM Final OSCE
    must successfully remediate by the end of the first clerkship block in Phase II. If the student fails the first retake, they
    have six months to take and pass a second retake. If the student fails the second retake, they will be reviewed by CAPP.

    5.7.4.2 End-of-Phase II CPX

    At the end of Phase II, students must take and pass the Clinical Performance Exam (CPX). Students who fail the CPX
    must remediate the failure by August 31st of Phase III.

    Failure of both the ICM Final OSCE and the End-of-Phase II CPX will trigger a review by CAPP.

    5.7.5 Scheduling Make-Up Exams
    Students are discouraged from taking any make-up exam in one course/clerkship while they are participating in
    another course/clerkship. Students who plan to take an exam in one course/clerkship during class time in another
    course/clerkship need the written permission of the Associate Dean for Student Affairs. Students who choose to take
    an NBME subject exam at a time when a regularly scheduled NBME exam is not being offered will bear the cost of the
    exam and the proctor.

5.8 In Good Standing
A student in good standing:
     1. Has received passing grades in all courses, clerkships, electives, standardized patient exams and other mandatory
exercises; and
   2. Has passed the appropriate USMLE exams in the recommended time period during medical school; and
   3. Is not on academic probation; and
   4. Behaves in accordance with high standards of professional and academic ethics.

CAPP may review the record of any student who loses good standing. Absent an exception granted by CAPP, only students
in good standing will be permitted to begin a new phase. Loss of good standing ends a student's eligibility for some special
programs or activities, e.g. the Scholarly Concentrations Program, Global Health Program, dual degree programs, approval
for conference travel, and permission to take clinical electives at other institutions. Loss of good standing results in loss
of Academic Eligibility for Financial Aid. For purposes of international electives, due to travel arrangements involved,
good standing will be assessed based on the student's record one semester before travel. However, students with
concerns of chronic marginality may not be eligible for international electives or research scholarships. In such situations,
the Associate Dean for Student Affairs will make the final decision regarding such eligibility.

A student who has lost good standing will return to good standing upon completion of the required remediation and of the
required probation period.

5.9 Academic Probation
    5.9.1 Placement on Academic Probation
     Students are placed on academic probation by CAPP as a warning that they are in danger of suspension or dismissal.
CAPP may put a student on academic probation if the student:

    1. Fails any course, clerkship, elective, or mandatory exercise;
    2. Has been cited for lack of acceptable academic ethics or professional behavior (Note: Any professionalism concerns
    that rise to the level of CAPP will be noted in the student’s MSPE.);
    3. Does not take and/or pass USMLE Step 1 and Step 2 CK,in a timely manner;
    4. Has two (2) or more Incompletes and/or "Z"'s; (Annotation 9.6)
    5. Has a pattern of marginal academic performance. (Annotation 9.5)

    5.9.2 Ending Probation
    CAPP may remove a student from academic probation after the student has, to the satisfaction of the committee,
    remedied the problem giving rise to probation. All assignments to probationary status will appear in the student's
    MSPE letter.

5.10 Suspension
A student will be automatically suspended, i.e. precluded from participation in academic and extracurricular activities,
when the student:
    1. Has been cited for lack of acceptable academic ethics or professional behavior as determined by the Vice Dean for
Academic Affairs; and/or
        2. Poses an imminent risk of danger to self, others, or the institution as determined by the Vice Dean for
Academic Affairs.

The student has 14 days from notification of suspension to appeal the decision to the Dean of the School of Medicine. The
suspension of any student who poses a threat to the community begins immediately. The Vice Dean will refer all such
students to CAPP and/or Counseling and Psychological Services. The student is removed from the class list and from any
remaining courses during the suspension period.

5.11 Mandatory Leave of Absence for Academic Remediation
A student will be automatically referred to CAPP and considered for a leave of absence for academic remediation and
cessation of current academic activities if the student:

1. Accumulates eight marginality points in Phase I;
2. Accumulates four marginality points in Phase II;
3. Accumulates 14 marginality points at any time while in medical school;
4. Fails a clerkship;
5. Has two or more Incompletes and/or "Zs” in clinical coursework (Annotation 9.6);
6. Does not take the USMLE Step 1 or Step 2 CK exam by the stated deadlines; or
7. Fails the USMLE Step 1 or Step 2 CK exam more than once.

5.12 Medical Student Performance Evaluation (MSPE)
The deans in the Office of Academic and Faculty Affairs compose the MSPE letters. Each student chooses the dean whom
they want to write their MSPE. Evaluative comments from required courses and clerkships are not substantively edited by
the MSPE writers. The final draft of the MSPE is prepared after meeting with each student. Students are permitted to
review the MSPE with the MSPE writer and correct factual errors, if any.

5.13 MSPE Quartile Determination
Although Renaissance School of Medicine does not have a formal class ranking system, students are placed into quartiles.
Quartile determination is based solely on course grades weighted for course length. Class quartile is calculated based on
academic performance in Phase I (35% ), Phase II ( 55% ), and Phase III (10%). The first quartile is the highest and represents
the top students in a graduating class. MSPE quartile placement is based on a student’s standing relative to other members
of their graduating class, not their entering class.

SECTION 6 – GUIDELINES FOR ACCOMMODATION FOR STUDENTS WITH DISABILITIES

6.1 Procedure for Determination of Disabilities and Accommodations*
The School of Medicine has specified certain criteria (Technical Standards) which all medical students are expected to meet
in order to participate in the entire medical education program and the practice of medicine. These Technical Standards
are not intended to deter any candidate or enrolled student for whom reasonable accommodation will allow the fulfillment
of the complete curriculum. Candidates for admission, academic promotion, and graduation must meet these Technical
Standards, with or without reasonable accommodation.

    6.1.1 Federal Law and University Policy
    Federal law and University policy assure that "no otherwise qualified handicapped individual … shall solely by reason of
    his/her handicap be … be denied the benefit of … any program or activity receiving federal financial assistance." In other
    words, a student with a physical, psychological, medical or learning disability that may impact their coursework, may
    have a right to "reasonable accommodations,” e.g. extra time on written exams, special support facilities, special
    transportation or parking facilities, etc.

    6.1.2 Seeking Appropriate Accommodations

Students are responsible for seeking accommodations, though the School of Medicine is ready and willing to help. The
Student Accessibility Support Center (SASC) is the Stony Brook office that works with a student to assure every request for
accommodations is handled appropriately. Any student seeking assistance from the SASC office must self-disclose the
believed presence of a specific disability. In order to receive services, appropriate documentation, complete with a
diagnosis and stated specific limitations, must be provided to the SASC. All information and documentation is confidential.

If necessary and if the student requests, the School of Medicine will help the student to get tested for a disability and also
facilitate SASC review to determine what accommodations are necessary and appropriate. A student who already has a
documented disability may contact SASC directly (631-632-6748). A student who wishes to determine whether or not
they have a disability that qualifies for accommodations, should notify the Associate Dean for Student Affairs of their
desire. At that point three avenues are available:

1. For psycho-educational testing, the student will usually be referred to the Krasner Psychological Center (KPC) on West
   Campus (631-632-6720). KPC conducts a wide array of testing depending on the question at hand (e.g. ADHD
   evaluation). KPC does not accept insurance, but their fees are based on a sliding scale according to income. The KPC
   also offers reduced fees to Stony Brook University students. The student must pay the testing fee upfront, and then
   submit a claim to their health insurance provider. Some insurers may reimburse a portion of the out-of-pocket expense.
2. If the Committee on Academic and Professional Progress (CAPP) recommends that a student undergo psycho-
   educational testing, the School of Medicine will cover the reasonable out-of-pocket costs that are not covered by the
   student’s insurance. The student must arrange to have the test results forwarded, in confidence, to the Office of
   Academic and Faculty Affairs. The student will also receive a copy of the report.
3. A student who needs other than psycho-educational testing will, with the assistance of the Office of Academic and
   Faculty Affairs, be referred for the necessary testing to an appropriate specialist or facility.

A student may choose to pay out-of-pocket for testing from a private specialist or facility. Sharing the results with the
Office of Academic and Faculty Affairs will, if accommodations are granted, better enable the school to tailor the
accommodations to the student's needs.

When a student has documentation of a disability, they should contact the Student Accessibility Support Center to arrange
an appointment (631-632-6748) in order to determine eligibility for accommodations. SASC reviews the available
information and determines for what, if any, accommodations the student qualifies. This determination is confidential and
the student determines who is notified. If the accommodation is being sought in the School of Medicine, the confidential
notification must be sent to the Assistant Dean for Student Affairs. A copy of this notification, as well as the testing report,
if available, will be securely placed by the Registrar in the confidential portion of the student record. SASC, the student, and
the Office of Academic and Faculty Affairs will come to an accord regarding what constitutes an accommodation that is
"reasonable" in the School of Medicine. The School of Medicine’s internal decisions about disability and accommodations
do not govern the National Board of Medical Examiners’ licensing exams.

The policies of the School of Medicine require that if a student wishes to take advantage of SASC and School approved
accommodations, the student is responsible for notifying directors of courses/clerkships in which the accommodations
are sought. The notification must be made before the beginning of the course/clerkship. The notification must be made
before the beginning of the course. SASC or the Dean's Office will notify course directors only when specifically asked to do
so by a student.

In situations where a decision regarding accommodations has to be made urgently and testing has been requested but the
results are pending, the Associate Dean for Student Affairs in consultation with the other Deans may make a temporary
determination.

    STUDENT CONSENT FOR RELEASE OF CONFIDENTIAL INFORMATION



SECTION 7 – STUDENT HEALTH POLICIES
Refer to the complete Health Policy for Medical Students. The remarks below are only meant as general guidelines.

7.1 Health Requirements and Immunizations
All entering medical students must meet the following health requirements before matriculation:

a. A comprehensive physical exam within twelve (12) months prior to matriculation.
b. Documentation of immunization for rubella, tetanus, polio, rubeola, diphtheria, varicella, and Hepatitis B. (Students
who choose not to complete the Hepatitis B series must contact the Office of Student Affairs to sign a declination and to
be informed of their rights waived in case of infection.)
c. Lab reports showing quantitative values of titers for measles, mumps, rubella, varicella, and Hepatitis B prior.
d. Results of TB testing within twelve (12) months prior to matriculation. Students with positive TB readings must submit
a copy of a chest x-ray report dated within the last two (2) years.
e. Annual immunization with influenza vaccine is strongly recommended.
f. Other immunizations required by Stony Brook University

Pertinent health information (date of annual physical, TB testing, titers) is included in the CBase record for each student.
Students must have updated physical exams and TB testings every twelve (12) months. The dates of these updates are
noted in CBase, and students will receive email reminders beginning thirty (30) days prior to their expiration. Health
updates should be submitted to the Office of Student Affairs, or can be uploaded directly into CBase.

Payment for these immunizations is the student's responsibility. Health requirements are determined through University
Hospital Rules and Regulations and are consistent with the NYS Department of Health requirements. Changes that might
occur from year to year are reflected in the Student Health Services Health Form. The university is required to distribute
information about meningococcal disease and vaccination to all enrolled students. This information includes availability
and cost of meningococcal meningitis vaccine. All students are required to respond to receipt of this information through
the SOLAR system. Additionally, students must provide a record of meningococcal meningitis immunization within the
past ten (10) years OR a signed acknowledgement of meningococcal disease risks and refusal of meningococcal meningitis
immunization. This acknowledgement can also be submitted through the SOLAR system.

Exposure to Emerging Pathogens:
In case of notification by reporting agencies of unusual and high risk pathogens (e.g. bioterrorism, other emerging high risk
infections), medical students must refrain from providing care to infected individuals to minimize risks to themselves.

7.2 HIV
Renaissance School of Medicine has established guidelines for the management of Human Immunodeficiency Virus (HIV)
seropositivity, and Acquired Immunodeficiency Syndrome (AIDS) in students of the School. An individual whose behavior
significantly deviates from guidelines at the practice site, thereby placing patients, staff, or colleagues at risk of exposure
to HIV infection, may be suspended from participation at the practice site pending the prompt review by the Dean of the
School of Medicine. Students who wish to know their HIV antibody status may be tested, at the student's expense. For
anonymous HIV counseling and testing, call 1-800-462-6786. Testing will be done confidentially and reported only to the
individual tested and to any agency required by state and local health codes.

7.3 Student Health Insurance
All students are required to have, and provide documentation of, adequate health insurance coverage for inpatient and
outpatient care. Stony Brook offers all full-time domestic students a health insurance plan that fulfills this requirement.
The plan pays for most medically necessary bills, such as doctor visits, mental health counseling, prescriptions, emergency
room visits, lab testing, diagnostic testing, surgery, hospitalization, etc.

All full time RSOM students are automatically billed for the University Health Insurance plan at the beginning of each
semester. The cost of the plan for 2021-22 is $3,986.50 per year for medical students. The policy year is August 15
through August 14. The cost will be pro-rated for students who, due to a qualifying event, enroll in the plan after the start
of the policy year.

Waivers for this plan and fee are given only if the student has health insurance through a job, a parent, a spouse, another
related individual, Medicaid, or "Healthy New York." To file a waiver, students must go to the SOLAR system and follow the
instructions under "Student Requirements" on the menu. In order for the waiver process to be complete, documentation of
other insurance coverage must be provided to the Office of Student Affairs.

7.4 COVID

At this writing, students are directed to the Stony Brook University Stronger Together website for the latest campus
guidelines, policies and resources regarding COVID

SECTION 8 - REGISTRATION AND FEES


8.1 Registration
The RSOM Registrar’s Office registers all medical students with Stony Brook University for each term of enrollment.
Enrollment in courses outside those prescribed in the medical curriculum is permitted only when the student is
participating in an approved combined degree program, or secures the approval of the Vice Dean for Academic Affairs.
Registration is not complete and enrollment may not occur until the student has paid all fees and complied with all
immunization and health insurance requirements. These are resolved in the SOLAR system by the student prior to the
start of a new semester. Medical students who have not complied with the above will not be permitted to attend classes or
clinical experiences. Inquiries regarding registration should be directed to the School of Medicine Registrar, Caroline
Lazzaruolo,      in    the     Office    of    Academic      Affairs,   Level    4,     Room     150,      (631)    638-
2005 (caroline.lazzaruolo@stonybrookmedicine.edu ).


8.2 Academic Fees
Students are expected to pay the annual rate charged for the academic year regardless of the beginning and ending dates.
Renaissance School of Medicine fees, as approved by the Stony Brook University Board of Trustees, will be billed by the
Stony Brook Office of the Bursar and payment will be due on the following schedule (approximate):

   8.2.1 First and Second Year Students:
   Fall semester (August)
   Spring semester (January)

    8.2.2 Third and Fourth Year Students:
    Fall semester (July)
    Spring semester (January)

8.3 Other Fees
The University and the School of Medicine assess other, non-academic fees. Unless waived, fee bills for both fall and spring
registrations will include an assessment for one-half the required health insurance annual premium.

The University Comprehensive Fee is billed to all university students. Included in the comprehensive fee are the College
Fee, Academic Excellence Fee, Student Health Service Fee, Technology Fee and Transportation Fee. Renaissance School of
Medicine Fees include the Renaissance School of Medicine Student Activity Fee and Clinical Skills Center Fee. First year
students are assessed anatomy and laboratory fees. Second year students are assessed a laboratory fee.

These fees are subject to change based on University administrative action. Account details are posted to SOLAR upon
term enrollment. For exact academic year rates, contact the Student Financial Services Office at (631) 632-9316. Current
tuition and fee rates may be viewed on the Tuition and Fees website.


8.4 Other Educational Expenses
Educational expenses not billed to each student include room and board, books and supplies, transportation expenses,
health care expenses, board exam fees and personal expenses. Only required educational expenses may be considered in
determining financial aid eligibility.

8.5 Refund Policy
   8.5.1 Financial Aid Policy and Procedure in Case of Student Withdrawal, Dismissal or Leave of Absence During the
Academic Semester
 Federal regulations determine the amount of federal Title IV financial aid students are entitled to keep once they withdraw
from classes or are placed on leave prior to the end of a semester. This amount is determined by the date when a student
last attended classes. Title IV funds available to medical students are the Unsubsidized Stafford and the Grad PLUS loan
programs.



Table 8.1: Tuition Liability and Refund for Student Withdrawal, Dismissal, or Leave of Absence
Liability Period per Term*                         Tuition Liability            Tuition Refund
Prior to end of Term Week 1                        0%                           100%
Start of Week 2 – End of Week 2                    30%                          70%
Start of Week 3 – End of Week 3                    50%                          50%
Start of Week 4 – End of Week 4                    70%                          30%
After start of Week 5                              100%                         0%


Term start date is the first day of the term for which each class is enrolled.
2019-20 Term                                       Start Date
Fall 2021 Year 1                                   August 11, 2021
Fall 2021 Year 2                                   August 16, 2021
Fall 2021 Years 3 and 4                            July 1, 2021
Spring 2022 ALL YEARS                              January 3, 2022

* Week starts Monday and ends Sunday; refer to the up-to-date liability schedule at: Withdrawals & Refunds

 1. Students are eligible to retain all of their federal aid only if withdrawing or placed on leave after the 60% point of the
    start date of the term has passed. The start date of the term and the 60% point are determined by the RSOM
    Registrar.
 2. If a student withdraws or is placed on leave prior to the 60% point, a Return to Title IV calculation will be performed by
    the West Campus Office of Financial Aid.
 3. This calculation will determine the amount of aid the student is eligible to keep and the amount that the University
    needs to refund to the federal government. Factored into this calculation is the start date of the term AND the last
    date of attendance for the student.
 4. The last date of attendance is the last day on which the student attended classes or took exams. The last date is not
    the date on which the student’s leave of absence or withdrawal is approved if s/he stopped attending classes/took
    exams prior to that date.
 5. Students are strongly advised to consult with the Assistant Dean for Student Affairs for further clarification of this
    policy.

SECTION 9 – ANNOTATIONS


9.1 LEARN and 3YMD Curriculum Tracks Required Courses

9.1.1 LEARN Curriculum Track Required Courses List.
9.1.2 3YMD Curriculum Track Required Courses List

9.2 USMLE Step 1 and Step 2 CK
It is the responsibility of the student to register for the USMLE with the National Board of Medical Examiners. Every medical
student at Renaissance School of Medicine is required to take and pass the USMLE Step 1 and Step 2 CK exams at the
designated times in the curriculum.
                                                                9.2.1   USMLE
                                                                     Case         Step 1
                                                                          2:22-cv-04490-JMA-AYS Document 3-12 Filed 07/29/22 Page 3 of 3 PageID #: 161
                                                                 All students must successfully complete all Phase II requirements and take the USMLE Step 1 exam before beginning any
                                                                Phase III courses. The deadline by which all students in each class must take Step 1 is provided in Table 9.1. This deadline is
                                                                generally eight weeks following the end of the fourth block of Phase II clinical clerkships. Students who are “out of sync”
                                                                and require additional time to complete all Phase II requirements, will have eight weeks from the time they complete all
                                                                Phase II requirements in which to take Step 1. Such students must also successfully complete all Phase II requirements and
                                                                take the USMLE Step 1 exam before beginning any Phase III courses. Any student who does not take Step 1 before the
                                                                required deadline will be placed on a leave of absence for academic remediation, and this leave of absence will be noted in
                                                                their MSPE.


                                                                In the event a student fails the first attempt of Step 1, the repeat examination must be taken within six months of the first
                                                                attempt date. If a student fails Step 1 and has begun Phase III coursework, then the student may finish the course in
                                                                progress, but then must stop all coursework. The student must retake Step 1 before continuing with any other coursework.
                                                                A student who fails Step 1 a second time will be placed on a mandatory leave of absence for academic remediation. Such a
                                                                student must take the repeat examination within six months of the second attempt date. A student who does not pass
                                                                Step 1 within three attempts may be subject to dismissal after a review by the Committee on Academic and Professional
                                                                Progress (CAPP).


                                                                MSTP (MD/PhD) Students
                                                                MSTP students must take Step 1 after completing Phase I and before starting their PhD program.

                                                                9.2.2 Step 2 CK

                                                                It is strongly recommended that students take Step 2 CK within 6-12 weeks of taking Step 1. All students’ first attempt of
                                                                Step 2 CK must be completed no later than December 15th of Phase III (see Table 9.1). April 30th of the graduation year is
                                                                the deadline for passing Step 2 CK to graduate in May.

                                                                Table 9.1. LEARN Curriculum Track deadlines for taking the USMLE Step 1 and Step 2 CK exams by graduation year.
                                                                Dates for the RSOM Clinical Performance Exam (CPX) are also given.



                                                                                                                     Step 1                                   Step 2 CK

                                                                                             Class of            Deadline1               CPX Dates2           Deadline
                                                                                               2022         March 5, 2021         March 8-22, 2021 December 15, 2021
                                                                                               2023         March 4, 2022         March 7-21, 2022 December 15, 2022
                                                                                               2024         March 10, 2023        March 13-27,         December 15, 2023
                                                                                                                                  2023
                                                                                               2025         March 8, 2024         March 11-25,         December 15, 2024
                                                                                                                                  2024


                                                                1Deadline for students who are “out of sync” is eight (8) weeks from the date they complete all Phase II requirements.

                                                                2Dates are approximate and subject to the availability of the Clinical Skills Center.




                                                                3YMD Curriculum Track

                                                                Because the 3YMD Curriculum Track has a shortened Phase III, 3YMD students must take both the USMLE Step 1 and Step
                                                                2 CK exams generally within ten (10) weeks of completing all Phase II requirements (See Table 9.2). 3YMD students will take
                                                                the Clinical Performance Exam (CPX) near the end of their fourth clinical clerkship block.

                                                                Table 9.2. 3YMD Curriculum Track deadlines for taking the USMLE Step 1 and Step 2 CK exams by graduation year.4



                                                                                           Graduation                Step 1                                   Step 2 CK
                                                                                              Year
                                                                                                                 Deadline4               CPX Dates            Deadline4
                                                                                               2022         March 11, 2022        December, 2021       March 11, 2022
                                                                                               2023         March 10, 2023        December, 2022       March 10, 2023
                                                                                               2024         March 23, 2024        December, 2023       March 23, 2024


                                                                4Deadlines are approximate, and each 3YMD student will need to consult with the Director of the 3YMD Curriculum Track,

                                                                Dr. Lisa Strano-Paul, to discuss scheduling their Step exams.

                                                                9.3 Plagiarism


                                                                The language or ideas taken from others may range from isolated formulas, sentences, or paragraphs to entire sections of
                                                                books, periodical articles, speeches, or the writings of others. Plagiarism also includes offering someone else's work as
                                                                one's own or submitting, without acknowledgment, materials assembled or collected by others in the form of projects or
                                                                collections. Additional information about Plagiarism is available to students in CBase and at various orientation programs.

                                                                9.4 Makeup Exam Policy
                                                                Dates and times for all makeup/remediation exams will be established by the Office of Academic and Faculty Affairs in
                                                                consultation with the course/component director(s). A student must take any make-up/remediation exam on its scheduled
                                                                date and time. Inquiries regarding make-up/remediation examinations should be directed to the Assistant Dean of Student
                                                                Affairs, Mary Jean Allen, in the Office of Undergraduate Medical Education, Level 4, Room 147, (631)444-2341
                                                                (mary.allen@stonybrookmedicine.edu ).

                                                                9.5 Chronic Academic Marginality
                                                                Academic marginality is determined by the number of marginality points a student accumulates. The initial grade that a
                                                                student receives in a course or clerkship is used to determine marginality points. Marginal performance in Phase I is a final
                                                                overall course grade of F or a final overall course grade of P with a final overall course score below 70.0. Marginal
                                                                performance in Phases II and III is a final overall course/clerkship grade of F or LP. Marginality points are also assigned for
                                                                failure of NBME Subject Exams, USMLE Step Exams, and RSOM summative OSCEs. Students who accumulate four or more
                                                                marginality points at any time will be referred to the Associate Dean for Student Affairs. Students with chronic academic
                                                                marginality5, irrespective of other grades, will be referred to CAPP, and may be at risk for dismissal. The number of
                                                                marginality points for each course and component in LEARN is presented in Table 9.3.

                                                                9.6 Two Incompletes and/or Zs

                                                                A student who receives two (2) Incompletes (I) and/or Z's cumulatively must stop rotations and retake the failed exams and
                                                                complete other unmet requirements before starting other coursework. The student may start an elective rotation while
                                                                waiting for score reports from retaken exams.


                                                                9.7 Decelerated Curriculum for Phases II and III

                                                                If a student is brought to CAPP for significant academic difficulties, the student may request or CAPP may mandate
                                                                (depending on the individual circumstances) that the student be placed in a decelerated curriculum that allows time for
                                                                remediation of academic coursework. Such students may be at risk for failure of the required USMLE examinations. The
                                                                recommended minimum time for concentrated study after failing an NBME subject examination in a clerkship is two weeks.
                                                                At the end of each clerkship block, a student in a decelerated curriculum will stop clerkships to remediate one or more
                                                                failed exams from prior clerkships. After the student successfully remediates such NBME failures, they may begin their next
                                                                clerkship at that clerkships next scheduled start date.

                                                                Although the LEARN curriculum allows for 12 weeks of flexible time in Phase III, most students in decelerated curricula are
                                                                likely to end up delaying their graduation date or year. Students in decelerated curricula must closely work with the
                                                                Associate Dean for Student Affairs to plan their schedule carefully to minimize delays. Regardless, all students, except
                                                                MSTP students, are required to complete all LEARN coursework within seven years of matriculation. Due to the nature of
                                                                the pre-clinical curriculum, a deceleration of Phase I courses is not possible.
                                                                5Chronic academic marginality is defined as 8 marginality points in Phase I, 4 marginality points in Phase II, or 14 marginality

                                                                points at any time in the curriculum.

                                                                                           Table 9.3. Marginality points for each course and component in LEARN.



                                                                                                             Phase I Course/Component                 Marginality
                                                                                                                                                        Points
                                                                                                      TMDS                                                2
                                                                                                      The Body                                            2
                                                                                                      Molecular Foundations of Medicine                   2
                                                                                                      Basic Mechanisms of Disease                         2
                                                                                                      Pathogens and Host Defense                          2
                                                                                                      Biomedical Building Blocks                          8
                                                                                                      Integrated Pathophysiology: CPR                     4
                                                                                                      Integrated Pathophysiology: MBB                     3
                                                                                                      Integrated Pathophysiology:                         2
                                                                                                      Endo/Repro
                                                                                                      Integrated Pathophysiology: GI/N                    2
                                                                                                      Integrated Pathophysiology: MSK                     2
                                                                                                      ICM                                                 2
                                                                                                      MCS                                                 2
                                                                                                      TiME                                                2
                                                                                                      ICM Final Summative OSCE                            3


                                                                                                        Phases II and III Course/Component            Marginality
                                                                                                                                                        Points
                                                                                                      TCC                                                 2
                                                                                                      NBME Subject Exam Failure (<5th                     2
                                                                                                      percentile)
                                                                                                      NBME Subject Exam Marginal Pass (5th-               2
                                                                                                      7th percentile)
                                                                                                      Core Clerkship                                      3
                                                                                                      Mini-Clerkship                                      2
                                                                                                      Translational Pillar                                2
                                                                                                      End of Phase II CPX                                 3
                                                                                                      Step 1                                              3
                                                                                                      Step 2 CK                                           3
                                                                                                      Selective                                           2
                                                                                                      Sub-internship                                      3
                                                                                                      Elective                                            2
                                                                                                      TTR-G                                               2
                                                                                                      TTR-S                                               2
                                                                                                      ACE                                                 2




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